Case 3:21-cv-00632-VAB Document 12 Filed 08/06/21 Page 1 of 2
        Case 3:21-cv-00632-VAB Document 12 Filed 08/06/21 Page 2 of 2




                         CERTIFICATE OF SERVICE

      I hereby certify that on this 6th day of August, 2021, a copy of the

Stipulation Of Dismissal With Prejudice was filed electronically and served by

regular mail and email to the following:

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